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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0763V
                                        UNPUBLISHED


 JAMES SOKOL,                                               Chief Special Master Corcoran

                        Petitioner,                         Filed: October 26, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Danielle Strait, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

        On June 24, 2020, James Sokol filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to
administration of an influenza (“flu”) vaccine he received on October 4, 2018. Petition at
¶22. Petitioner further alleges that his injuries have lasted more than six months and that
he has not received compensation in the form of an award or settlement for his alleged
injury. Petition at ¶¶21, 30. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On October 25, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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1. Specifically, Respondent “had no history of pain, inflammation or dysfunction in his left
shoulder; his pain and reduced range of motion occurred within 48 hours of receipt of an
intramuscular vaccination; his symptoms were limited to the shoulder in which the vaccine
was administered; and no other condition or abnormality was identified to explain his
symptoms.” Id. at 5. Respondent further agrees that “the scope of damages to be awarded
is limited to Petitioner’s SIRVA and its related sequelae only.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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